                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                        Plaintiff,

        v.                                                       Case No. 03-CR-261

VALENCIA PARSONS,

                        Defendant.


                                                ORDER


        Defendant Valencia Parsons has filed with the court a letter requesting that her sentence be

reduced by 18 months to correspond with the 18 month reduction she would have been eligible for

had she successfully completed the ICC-Bootcamp program which was abolished after the court

sentenced her. Ms. Parsons does not cite any rule or statute authorizing the reduction she seeks.

Rule 35 of the Federal Rules of Criminal Procedure authorize a court to correct or reduce a sentence

in certain circumstances, none of which apply here. And while 28 U.S.C. § 2255 permits a

collateral attack on a conviction or sentence that is in violation of a defendant’s constitutional rights,

no such claim in made here. In sum, I have no authority to grant the relief defendant seeks. See

Romandine v. United States, 206 F.3d 731, 734-36 (7th Cir. 2000). Accordingly, the letter/motion

is summarily denied.

        SO ORDERED.

        Dated this    7th   day of November, 2005.


                                                         s/ William C. Griesbach
                                                         William C. Griesbach
                                                         United States District Judge

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